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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0824V
                                          UNPUBLISHED


    CHARLES EASTWOOD,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: November 23, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Brachial Neuritis

                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On June 4, 2019, Charles Eastwood filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered brachial neuritis as a result of an
influenza (“flu”) vaccine he received on October 27, 2017. Petition at 1; Stipulation, filed
November 23, 2021, at ¶¶ 2-4. Petitioner further alleges he received the vaccine in the
United States, his injuries continued for longer than six months, and there has been no
prior award or settlement of a civil action for damages on his behalf as a result of his
condition. Petition at ¶¶ 14-16; Ex. 1 at 1; Stipulation at ¶¶ 3-5. “Respondent denies that
petitioner suffered brachial neuritis as the result of his flu vaccination, and further denies
that petitioner’s alleged shoulder injury or any other injury or condition was caused by his
receipt of the flu vaccine.” Stipulation at ¶ 6.

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   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        Nevertheless, on November 23, 2021, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $112,500.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS

CHARLES EASTWOOD,                              )
                                               )
                   Petitioner,                 )       No. 19-824V
                                               )       Chief Special Master
        V.                                     )       Brian Corcoran
                                               )       SPU
SECRETARY OF HEALTH                            )
AND HUMAN SERVICES,                            )
                                               )
                  Respondent.                  )


                                           STIPULATION

        The parties hereby stipulate to the following matters:

          1. Charles Eastwood, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 et seq. (the "Vaccine

Program"). The petition seeks compensation for injuries related to petitioner's receipt of an

influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § I00.3(a).

        2. Petitioner received a flu vaccination on October 27, 2017.

        3. The vaccine was administered within the United States.

       4. Petitioner alleges that he suffered brachia! neuritis as the result of his flu vaccination,

and further alleges that he suffered the residual effects of this alleged injury for more than six

months.

        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.
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        6. Respondent denies that petitioner suffered brachia I neuritis as the result of his flu

vaccination, and further denies that petitioner's alleged shoulder injury or any other injury or

condition, was caused by his receipt of the flu vaccine.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $112,500.00 in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under 42
        U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 ( a)( I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0 . Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. §

1396 et seq.)), or by entities that provide health services on a pre-paid basis.



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        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l O et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on or around October 27,

2017, as alleged by petitioner in a petition for vaccine compensation filed on or about June 4,

2019, in the United States Court of Federal Claims as petition No. 19-824V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner to develop

brachia! neuritis or any other injury or condition.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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   Respectfully submitted,

   PETITIONER:


  a~
   CHARLES EASTWOOD


   ATTORNEY OF RECORD FOR                    AUTHORIZED REPRESENTATIVE
   PETITIONER:                               OF THE ATTORNEY GENERAL:
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   AUTHORIZED REPRESENTATIVE OF              ATTORNEY OF RECORD FOR
   THE SECRETARY OF HEALTH AND               RESPONDENT:
   HUMAN SERVICES:
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  TAMARA OVERBY                              ALTHEA WALKER DAVIS
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  Dated:   /I   l:>3 />I


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